= Case 3:14-cv-05406-VC Document 27 Filed 06/04/15 Page 1 of 2
Case3:14-cv-05406-VC Document23-5 Filed04/23/15 Page1 of 3

Benjamin K. Lunch, State Bar No. 246015

1 | Wan Yan Ling, State Bar No. 297029

NEYHART, ANDERSON, FLYNN & GROSBOLL
2 | 369 Pine Street, Suite 800

San Francisco, CA 94104

3 | Tel. (415) 677-9440

Fax (415) 677-9445

4 | Email: blunch@neyhartlaw.com
wling@neyhartlaw.com

6 | Attorney for Plaintiffs

UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA
(San Francisco Division)

1 ELECTRICAL INDUSTRY Case No. 3:14-cv-05406-VC
SERVICE BUREAU, INC.; NORTHERN

PENSION TRUST; SAN FRANCISCO
13 | ELECTRICAL INDUSTRY DEFAULT JUDGMENT AGAINST

APPRENTICESHIP AND TRAINING DEFENDANTS T J WARD &
14 TRUST; ELECTRICAL WORKERS ASSOCIATES CONTRACTING, INC.
HEALTH AND WELFARE TRUST; d/b/a THE FACILITIES GROUP,

15 NATIONAL ELECTRIC BENEFIT FUND; | JAMES BROWN, and DAVID FAZIO
INTERNATIONAL BROTHERHOOD OF
16 ELECTRICAL WORKERS LOCAL 6

VACATION FUND; INTERNATIONAL _| LF-R-C-P. Rule 55(b)]
17 BROTHERHOOD OF ELECTRICAL
WORKERS LOCAL 6; and JOHN
18 DOHERTY as Trustee of each of the Plaintiff
Trust Funds except the National Electrical
19 Benefit Fund and as agent for Plaintiff
National Electrical Benefit Fund,

Plaintiffs,
21 Vv.
22 TJ WARD & ASSOCIATES Date: June 4, 2015.
CONTRACTING, INC. d/b/a THE Time: 10:00 a.m.
23 FACILITIES GROUP, a California Judge: Hon. Vince Chhabria
corporation, JAMES BROWN, an individual; | Court: 4, 17" Floor
24 and DAVID FAZIO, an individual. Location: 450 Golden Gate Avenue
25 Defendants. San Francisco, CA 94102
26
27
Neyuart, 28
ANDERSON, -]-
FLYNN & PROPOSED ORDER

GROSBOLL Case No. 3:14-cv-05406-VC

ATTORNEYS AT LAW
bo

NeyHart, 28
ANDERSON,

FLYNN &
GROSBOLL

ATTORNEYS AT LAW

Case 3:14-cv-05406-VC Document 27 Filed 06/04/15 Page 2 of 2
Case3:14-cv-05406-VC Document23-5 Filed04/23/15 Page2 of 3

This matter came on regularly for hearing on Thursday, June 4, 2015 at 10:00 a.m., in

‘n Floor of the San Francisco Courthouse of the Northern District of

Courtroom 4 on the 17
California, located at 450 Golden Gate Avenue, San Francisco, CA 94102, the Honorable Vince
Chhabria presiding. Plaintiffs ELECTRICAL INDUSTRY SERVICE BUREAU, INC.;
NORTHERN CALIFORNIA ELECTRICAL WORKERS PENSION TRUST; SAN FRANCISCO
ELECTRICAL INDUSTRY APPRENTICESHIP AND TRAINING TRUST; ELECTRICAL
WORKERS HEALTH AND WELFARE TRUST; NATIONAL ELECTRIC BENEFIT FUND;
INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS LOCAL 6 VACATION
FUND; INTERNATIONAL BROTHERHOOD OF ELECTRICAL WORKERS LOCAL 6; and
JOHN DOHERTY as Trustee of each of the Plaintiff Trust Funds except the National Electrical
Benefit Fund and as agent for Plaintiff National Electrical Benefit Fund (hereinafter collectively
referred to as the “Plaintiffs”) were represented by Wan Yan Ling. Defendants T J WARD &
ASSOCIATES CONTRACTING, INC. d/b/a THE FACILITIES GROUP, JAMES BROWN, and
DAVID FAZIO failed to appear.

Having considered the argument of Ms. Ling, the Notice, the Points and Authorities, the
submitted Declarations of Judith Fisher and Wan Yan Ling, and the entire file in this action, and
GOOD CAUSE APPEARING, the Court hereby ORDERS, as follows:

Plaintiffs’ Motion for Default Judgment against Defendants is hereby GRANTED and
Judgment is entered against Defendants in the amount of $79,304.22, consisting of $49,168.47 in
unpaid fringe benefit contributions, $17,744.32 in liquidated damages, $1,898.63 in interest,

$142.80 in collection costs, and $10,350.00 in attorneys’ fees and costs.

IT IS SO ORDERED. =

Dated: Gel e —

UNITED STATES DISTRICT COURT JUDGE

PROPOSED ORDER
Case No, 3:14-cv-05406-VC
